     Case 3:21-cv-01371-B Document 8 Filed 07/08/21              Page 1 of 2 PageID 53



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
EVA MORENO, et al                              §
                                               §           CIVIL ACTION NO.
v.                                             §           3:21-CV-01371-B
                                               §
MICHAEL DUNN, et al                            §

                   STIPULATION AS TO RESPONSIVE PLEADINGS

       Plaintiffs Eva Moreno, Juan Moreno, Valeria Moreno as next friend of A.M. and J.M., and

Jessica Compozana as next friend of J.M.; and Defendant City of Farmers Branch stipulate that

Defendant City of Farmers Branch shall answer or file responsive pleadings or motions in

connection with Plaintiffs’ Original Complaint (Doc. 1) no later than August 3, 2021.

AGREED:                                              AGREED:

 _/s/James T. Jeffrey, Jr.__                       _/s/Scott H. Palmer__
 JAMES T. JEFFREY, JR.                             SCOTT H. PALMER
 State Bar No. 10612300                            State Bar No. 00797196
 LAW OFFICES OF JIM JEFFREY                        SCOTT H. PALMER, P.C.
 3200 W. Arkansas Lane                             15455 Dallas Parkway, Ste. 540
 Arlington, Texas 76016                            Addison, Tx 75001
 (817) 261-3200                                    (214) 987-4100
 (817) 275-5826 FAX                                Fax (214) 922-9900
 ATTORNEY FOR DEFENDANT                            AND
 CITY OF FARMERS BRANCH                            CHARLA G. ALDOUS
                                                   State Bar No. 20545235
                                                   ALDOUS WALKER, LLP
                                                   4311 Oak Lawn Ave., Ste. 150
                                                   Dallas, Tx 75219
                                                   (214) 526-5595
                                                   Fax (214) 526-5525
                                                   AND
                                                   JEFFREY RASANSKY
                                                   State Bar No. 16551150
                                                   RASANSKY LAW FIRM
                                                   2525 McKinnon Street, Ste. 550
                                                   Dallas, Tx 75201
                                                   (214) 651-6100
                                                   Fax (214) 651-6150
                                                   ATTORNEYS FOR PLAINTIFFS

_____________________________________________________________________________________________
STIPULATION AS TO RESPONSIVE PLEADINGS – Page 1
    Case 3:21-cv-01371-B Document 8 Filed 07/08/21               Page 2 of 2 PageID 54



                               CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2021, a copy of the foregoing was sent to all counsel of
record by electronic notice through the ECF System for the Northern District of Texas.

                                                   ___/s/James T. Jeffrey, Jr.____
                                                   JAMES T. JEFFREY, JR.




_____________________________________________________________________________________________
STIPULATION AS TO RESPONSIVE PLEADINGS – Page 2
